                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                           CIVIL NO. 2:22-cv-00709-MSG

THE UNIFIED JUDICIAL SYSTEM OF
PENNSYLVANIA, THE SUPREME
COURT OF PENNSYLVANIA, THE
BLAIR COUNTY COURT OF COMMON
PLEAS, THE LACKAWANNA COUNTY
COURT OF COMMON PLEAS, THE
JEFFERSON COUNTY COURT OF
COMMON PLEAS, and THE
NORTHUMBERLAND COUNTY COURT
OF COMMON PLEAS,

       Defendants.


                                            ORDER

       AND NOW, this ____ day of __________________________, 2024, upon consideration

of the Parties’ Joint Motion to Dismiss, it is ORDERED that this case is hereby DISMISSED

without costs to any party and without prejudice to any claim by any party for breach of the

Parties’ Settlement Agreement, consistent with the terms of that Agreement.


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                                                    MITCHELL S. GOLDBERG, J.
